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                                            Doc 356-1              Filed 10/02/18 Entered 10/02/18 13:33:10    Desc
                                                              Exhibit Page 1 of 31



                                          tion for this agreement. Without limiting the generality of the forego-
                                          ing, the parties specifically acknowledge that Buyer has had an op-
                                          portunity to inspect the premises with regard to environmental con-
                                          cerns and the purchase price has been negotiated to eliminate all
                                          claims relating to environmental matters. Consequently, this clause
                                          bars all claims brought by the Buyer concerning the condition of the
                                          property pursuant to the Federal Comprehensive Environmental
                                          Response, Compensation and Liability Act of 1980 (CERCLA), as
                                          amended, the Federal Resource Conservation and Recovery Act
                                          (RCRA), as amended, and any applicable, similar federal and state
                                          legislation. Notwithstanding the parties' intent that this clause bar all
                                          such claims, should a court of competent jurisdiction deem other-
                                          wise, the presence of this clause shall serve as the overwhelming,
                                          primary factor in any equitable apportionment of liability or dam-
                                          ages under CERCLA, RCRA, and other such Acts.
                                c.        Buyer hereby waives, releases, acquits and forever discharges
                                          Seller, its employees or agents or any other person acting on behalf
                                          of Seller, of and from any and all claims, actions, causes of action,
                                          demands, rights, damages, costs, expenses, or compensation
                                          whatsoever, direct or indirect, known or unknown, foreseen or un-
                                          foreseen, which Buyer now has or which may arise in the future on
                                          account of or in any way growing out of or in connection with any
                                          physical characteristics or existing condition including, without limit,
                                          subsurface conditions and solid and hazardous wastes, and haz-
                                          ardous substances, on, under, or related to the real property, any
                                          law or regulation applicable thereto.
                      7         Transfer of Property: Transfer of the Property by Seller shall be by
                                Trustee's Fiduciary Quitclaim Deed. The Seller shall convey and the Buy-
                                er shall accept the marketable title to the Property that will be insured by
                                Western Title & Escrow Company, without material exception, subject
                                only to the terms of this Counteroffer and any further documentation of the
                                Sale consistent with this Counteroffer.

                      8.        Liens Claims, Encumbrances and Interests: The Sale shall be free and
                                clear of such Liens, with the extent, validity and priority of such liens to at-
                                tach to the net proceeds of the Sale.

                      9.        Assessments, Taxes and Escrow fees: The following assessments, taxes
                                and other costs shall be allocated as follows: (a) all allowable assess-
                                ments and real property taxes shall be prorated through the closing date
                                of the Sale to the applicable accounts of the Seller and the Buyer, such
                                that the amounts applicable to the account of the Buyer shall not be de-
                                ducted from the Purchase Price; (b) escrow fees shall be split equally
                                between the Buyer and the Seller (50/50), such that the amounts allocable
                                                             -3-

            5401-000 (IC Hiles)
            Counteroffer No I. 66876 Gist Rd. Bend. OR 97703 (Buyer Alan Reay) TC Hiles.docx         EXHIBIT 3
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                                to the Buyer shall not be deducted from the Purchase Price; (c) the Seller
                                shall pay real property transfer tax (County and State only) and the costs
                                of a standard issue title insurance policy, such that these taxes and costs
                                shall not be deducted from the Purchase Price; and (d) City transfer tax
                                shall be split equally between Buyer and Seller (50/50), such that the
                                amount allocable to the Buyer shall not be deducted from the Purchase
                                Price. All other costs are at Buyer's sole expense and are not to be
                                deducted from the Purchase Price.

                      10,       Overbid: The Sale is subject to notice to creditors and other parties and
                                shall be subject to higher and better bid through and including the hearing
                                on the Approval Motion, pursuant to sale and overbid procedures deter-
                                mined in the Seller's sole discretion and subject to Bankruptcy Court ap-
                                proval. Initial overbid will be $2,005,000.00 and thereafter in minimum
                                $5,000.00 increments.

                      11.       Brokers and Commissions: The Buyer is represented by Nic Jones, Ore-
                                gon License #201210062 of Drew Hood and/or assigns, LLC ("Buyer's
                                Broker"), and Seller is represented by Josh Hansen, Oregon License
                                #200012039, of Strategic Realty, LLC ("Seller's Broker"). Subject to Court
                                approval, the Seller shall pay a total five percent (5%) commission of the
                                Purchase Price through escrow as follows: two percent (2%) to the Buy-
                                er's Broker; two percent (2%) to the Seller's Broker; and one percent to
                                Debtor's Estate. No commission shall be due and payable except from
                                the cash proceeds of an actual sale of the Property to the Buyer and upon
                                closing of such sale.

                      12.       Seller Right to Terminate: The Seller may decline, at her option and sole
                                discretion, to consummate the Sale for any reason, including without limi-
                                tation: (a) the dismissal or closure of the Debtor's bankruptcy case; (b) the
                                conversion of the debtor's Chapter 7 bankruptcy case to any other chapter
                                under the Bankruptcy Code; (c) the inability to subordinate any liens on
                                the Property to the expenses of administration; (d) the inability to obtain
                                approval of the Sale by the Bankruptcy Court; or (e) the inability to sell the
                                Property on the terms and conditions set forth herein. The Seller reserves
                                the right, in her sole discretion, to determine not to consummate, and to
                                terminate, the sale of the Property by serving a notice of such termination
                                on the Buyer. No liability or obligations shall accrue to the bankruptcy es-
                                tate or the Seller, either personally or in her capacity as Trustee, as a re-
                                sult of any such termination. The Buyer's sole remedy, in the event that
                                escrow fails to close as a result of Seller's inability to close escrow, shall
                                be a refund of the Deposit in full.




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            5401-000 (IC Hiles)
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                                                              Exhibit Page 3 of 31




                      13.       Non-Refundability and Forfeiture of Deposit: Except as set forth
                                above in paragraph 12 to this Counteroffer, immediately upon expira-
                                tion of the Due Diligence Deadline without Buyer's submission of a
                                Notice to Cancel in accordance with paragraph 3 to this Counteroffer,
                                the entirety of the Deposit shall be absolutely non-refundable and
                                forfeited to the Seller. Notwithstanding the immediately preceding
                                sentence, in the event: (a) the Bankruptcy Court enters an order that
                                does not authorize Seller to sell the Property to the Buyer; or (b) the
                                Bankruptcy Court enters an order that authorizes the sale to another
                                bidder and the Buyer is not a backup bidder, Seller shall refund the
                                entire Deposit to the Buyer within fifteen (15) calendar days following
                                entry of such order of the Bankruptcy Court. In the event the Buyer
                                is overbid and is a backup bidder, Seller shall refund the entire De-
                                posit to the Buyer only if the Sale closes to the winning bidder and
                                within ten (19ivIendar days following such closing.
                                                                                               DS


                                                       /1R     (Buyer's initials)                   eller's initials)




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            5401-000 (IC Hiles)
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                                                              Exhibit Page 4 of 31



            14.       Escrow Instructions: Escrow instructions shall be signed by Buyer and Seller
                      within thirty (30) calendar days after execution of this Counteroffer. In the event
                      that Buyer is unable to close escrow within fifteen (10) calendar days after entry
                      of the Bankruptcy Court's order authorizing the Sale (the "Closing Date"), the
                      Buyer shall compensate the Seller one hundred dollars ($100.00) per day for
                      each day beyond the Closing date that the Sale does not close for a total ex-
                      tended period of no more than ten (10) calendar days. Thereafter, the Seller
                      shall have absolute discretion to either: (a) provide further extensions of the Clos-
                      ing Date at the same rate of compensation; or (b) terminate the Sale to the Buyer
                      and retain the entirety of the Deposit as liquidated damages.

            15.       Bankruptcy Court Jurisdiction: The Bankruptcy Court for the Central District of
                      California, Riverside Division ("Court"), shall have jurisdiction to interpret and en-
                      force the terms of this Counteroffer/agreement. This Counteroffer/agreement
                      shall be construed pursuant to the laws of the State of California, except to the
                      extent preempted by applicable Federal bankruptcy law.

            16.       Expiration of Offer: This Counteroffer shall expire, if not executed by Buyer and
                      delivered to Seller's agent, Josh Hansen, Oregon License #200012039, of
                      Strategic Realty, LLC, on or before 2:00 p.m. PDT, Friday, August 3, 2018.




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                                                              Exhibit Page 5 of 31




            17.       Multiple Offers: Buyer recognizes that multiple offers and/or counteroffers (in ad-
                      dition to the instant Counteroffer) may be pending and Seller reserves the right,
                      per Paragraph 12, to choose which contract to submit to the Bankruptcy Court for
                      approval.



            Seller:


           cynala
              DocuSigned by:
                                                                                               8/2/2018 1 17:21 PDT
             c*77
                   FlAikti3,..Solely in her Capacity as Chapter 7 Trustee                       Date
            for the Bankruptcy Estate of
            In re Russel Dennis Hiles, III Case No.: 6:16-bk-16877-WJ



            Read, Understood, Agreed To and Accepted:
            Buyer:

               DocuSigned by:

           [ 11.1q0        Na                                                                   8/6/2018 1:12:09   PM   PDT

            Drew hood Buyer                                                                     Date




            Nic Jones, Oregon License #201210062                                                Date
            Keller Williams Central Oregon

            Buyer's Agent




                                                                            -7-

            5401-000 (TC Hiles)
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         4=.I! OREF                                                           Exhibit Page 6 of 31
                                                                                                                                 Sale Agreement # 07072018NJ


                                                            BUYER'S COUNTER OFFER No. 1
   1    This is a counter offer to Seller's Counter Offer.
   2    Buyer: Drew Hood and/or assigns
   3    Seller: Lynda T. Bui, Trustee
   4    The real property described as: 66876 Gist Rd., Bend, OR 97703

   5    AGREEMENT TO PURCHASE:
   6    Buyer agrees to purchase the real and personal property upon the terms and conditions set forth in the Sale Agreement and subsequent counter offers where
   7    applicable except as modified as follows: -The $1,995,000 purchase price shall include all personal property. Personal property is sold in
   8    as-is condition with no warranties expressed or implied. Buyer and Seller agree to execute an addendum detailing the list of items
   9    included in the sale within 10 days of mutual acceptance.
  10
  11    -Should buyer need to obtain financing due to buyer's property not selling during the due diligence period, the financing contingency
  12    provisions in the sale agreement shall apply to this transaction.
  13
  14    -Buyers Due Diligence/ feasibility study period shall go for 30 calendar days and end at 5pm on the 30th calendar day after mutual
  15    acceptance.
  16
  17
  18
  19
  20    For additional provisions, see Addendum
  21    All remaining terms and conditions of the Sale Agreement (and other counter offer(s), where applicable), not otherwise modified, are approved
  22    and accepted by Buyer. Time is of the essence. This Buyer's Counter Offer shall automatically expire on  August 10, 2018    at    5     n a.m.

  23    X p.m. ("the Counter Offer Deadline"), if not accepted within that time. This Buyer's Counter Offer may be accepted by Seller only in writing.
  24    However, Buyerimay.wittiorlaw this Buyer's Counter Offer any time prior to Seller's written acceptance.
  25    Buyer Signature[2.04610 (ha                                                                Date 8/6/2018 1:13: 19 PM PDT a.m.         p.m. 4—
                          '17/NW1od and/or assigns
  26    Buyer Signature                                                                            Date                             a.m.      p.m. 4-


  27    SELLER'S RESPONSE (select only one):
  28 D Seller accepts Buyer's Counter Offer.
  29 gi Seller does not accept Buyer's Counter Offer AND submits the attached Seller's Counter Offer.
  30 fl Seller rejects Buyer's Counter Offer.
  31 Seller acknowledges receipt of signed copies of the Sale Agreement and all subsequent counter offers, including this Buyer's Counter Offer, which
  32 Seller has read and fully understands. Seller instructs that all earnest money distributable to Seller pursuant to the Sale Agreement shall be
  33 disbursed as follows after deduction of any title insurance and Escrow cancellation charges: (check one)
  34 D First to Seller's Agent's Firm, to the extent of the agreed commission just as if the transaction had been consummated, with residue to Seller; or
  35 Et                      ,—DocuSigned by

  36 Seller Signature          e--k7
                                  Lyndiavliku4arustee
                                                                                                      Date 8/13/2018 I 1,6: 17 PDT am.         p.m. 4—

  37    Seller Signature                                                                                               Date                                         a.m.    p.m.   4-




  38    Note: If delivery/transmission occurs after the Counter Offer Deadline identified above, it will not become binding upon Seller and
  39    Buyer unless the parties agree to extend said Deadline by an Addendum, Counteroffer, or other writing, jointly signed by the
  40    parties. The parties' failure to do so shall be treated as a rejection under Seller's Response, above, in the Sale Agreement and this
  41    transaction shall be automatically terminated.

  42    Seller's Agent Josh Hansen                                                                   Buyer's Agent Nic Jones



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                                                                             Exhibit Page 7 of 31
                     '1O REF                                                                                                   Sale Agreement # 07072018NJ


                                                          SELLER'S COUNTER OFFER No. 2
   1    This is a counter offer to 0 Sale Agreement or X Buyers Counter Offer
   2    Seller: Lynda T. Bui, trustee
   3    Buyer: Drew Hood and/or assigns
   4    The real property described as: 66876 Gist Rd., Bend, OR 97703

   5    AGREEMENT TO SELL: Seller agrees to sell the real and personal property upon the terms and conditions set forth in the Sale Agreement and
   6    subsequent counter offers where applicable, except as modified as follows: 1. The purchase price of $1,995,000 does not include any
   7    personal property on site.
   8
   9    2. Buyer shall have the right to buy all of the personal property on site for $10,000, payable at close of escrow. Personal property is sold
  10    in as-is condition with no warranties expressed or implied. If buyer is elects to purchase the personal property, buyer agrees to provide
  11    seller written notice of buyer's election to purchase the personal property upon mutual acceptance. If written notice by buyer
  12    referenced above is not received by the seller upon mutual acceptance, personal property on site will not be included in the sale.
  13
  14    3. Upon seller's receipt of buyer's notice to purchase the personal property, Buyer and seller agree to execute an addendum detailing the
  15    list of items included in the sale within 10 days.
  16
  17
  18    For additional provisions, see Addendum

  19    All remaining terms and conditions of the Sale Agreement (and other counter offer(s), where applicable), not otherwise modified, are
  20    approved and accepted by Seller. Time is of the essence. This Seller's Counter Offer shall automatically expire on          August 15, 2018       at
  21        5    0 a.m. 0 p.m. ("the Counter Offer Deadline"), if not accepted within that time This Seller's Counter Offer may be accepted by Buyer only in
  22    writing. However, Seller may withdraw this counter offer any time prior to Buyer's written acceptance.
  23    Seller acknowledges receipt of a completely filled in copy of Buyer's Offer and Seller's Counter Offer, and all subsequent counter offers
  24    where applicable, which Seller has fully read and understands. Seller acknowledges that Seller has not relied on any oral or written
  25    statements of any Buyer or of any Agent(s) that are not expressly contained in the Sale Agreement as amended. Seller instructs that all
  26    earnest money distributable to Seller pursuant to the Sale Agreement shall be disbursed as follows after deduction of any title insurance
  27    and Escrow cancellation charges: (check one) ID First to Seller's Agent's Firm, to the extent of the agreed commission just as if the
  28    transaction had been consummated, with residue to Seller; or IX 100% to seller.
  29                              ,—DocuSigned by:
  30    Seller Signature                                                                                             Date   8/13/2018 I 16:17 PDT                         a.m.      p.m.
                                 kM41F-EAVLII,Ve..e
  31    Seller Signature                                                                                             Date                                                 a.m.      p.m. 4-


  32    BUYER'S RESPONSE (select only one):
  33    E Buyer accepts Seller's Counter Offer.
  34    X Buyer does not accept Seller's Counter Offer AND submits the attached Buyer's Counter Offer.
  35    E Buyer rejects Seller's Counter Offer.
  36    Buyer acknowledges receipt of signed copies of the Sale Agreement and all subsequent counter offers including this Seller's Counter
  37    Offer, where ap4                   as fully read and understands.
                                                tho
                                   13tiyer
                                                                                         8/15/2018 2:07:54 PM PDT
  38    Buyer Signature  1/kj                                                      Date                                   a.m.     p.m. 4—
                              Heed4ancUor assigns
  39    Buyer Signature                                                            Date                                   a.m.     p.m. <-


  40    Note: If delivery/transmission occurs after the Counter Offer Deadline identified above, it will not become binding upon Seller and
  41    Buyer unless the parties agree to extend said Deadline by an Addendum, Counteroffer, or other writing, jointly signed by the
  42    parties. The parties' failure to do so shall be treated as a rejection under Buyers Response, above, and this transaction shall be
  43    automatically terminated.
  44    Seller's Agent Josh Hansen                                                                   Buyer's Agent Nic Jones
        This form has been licensed for use solely by Josh Hansen pursuant to a Forms License Agreement with Oregon Real Estate Forms, LLC.
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        No portion may be reproduced without express permission of Oregon Real Estate Forms, LLC                                                                                 Page 1 of 1
    Strategic Realty LLC. 141 NW Greenwood Ave.. Ste. 100 Bend OR 97702                                                   Phone: 541-678-0756         Fax: 888-993-2345           66876 Gist 12(1.
    Josh Hansen                                Produced with zipForm0 by zipLogix 18070 Fifteen Mile Road, Fraser. Michigan 48026 www.zioLogix.corn
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                                                     Exhibit Page 8 of 31



                 List of Personal Property Items Located at 66876 Gist Rd. Being
                                      Purchased for $10,000
            -FIRST FLOOR
            A) HEARTH ROOM
            1- white L shaped section couch with 7 extra blue pillows
            1- french chair Blue on the back side and flower print on the front side
            1-Fireplace hearth spark screen
            1- 70 inch TV with sound bar below
            1-Grey pattern rug

            B)KITCHEN EATING AREA
            1- 10 foot long dinning table
            5- white linen dinning chairs
            6- tan and blue pillows on top of built in seating bench
            1- Hoffman cast iron heater decoration piece
            1 -hanging tapestry

            C) KITCHEN
            1-black and decker toaster
            ALL appliances to Stay

            POOL TABLE ROOM
            1- antique pool table with 8 pool sticks and pool balls and mounting rack for sticks
            1 yatzee game and 1 game of life
            1 tan linen couch with four green flower pillows
            1-blue rug under pool table
            1-42" samsung tv mounted to the wall
            2 blue dinning chairs

            GREAT ROOM
            1-Wurlitzer baby grand piano with red leather bench
            1 -light green couch 4 pillows that match fabric on the couch
            2 carved decorative chairs next to fire place
            1- round table in front of fire place
            1 large area rug looks persian
            1- large armoire with glass front
            1- mirrow gold color with vase over fire place
            1-42" samsung tv mounted on wall
            1 -tan couch under mounted tv
            1 -tan linen chair in the corner of the room

            FIRST FLOOR BED ROOM
            1 -restoration hardware queen bed linen upholstery with sterns and foster mattress and box spring set
             and sheets, 2 pillows and blankets white in color
            1 grey rug under the bed
            1 pained two tone french armoire
            1-30" samsung tv behind armoire
            1 dresser with 3 drawers french style




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            ENTRY AND HALLWAYS
            1-octagon shaped table under chandelier
            2 blue dinning chairs
            1 small side table under painting
            1- 3 naked lady painting drowning or playing flutes
            1- painted grandfather clock

            DINNING ROOM
            1 Large blue marble dinning table with 8 blue chairs
            1 large french sideboard with glass doors
            1- medium size french sideboard
            1 mounted marble and wrought iron sideboard with mirror above

            OFFICE
            1 duel sided desk
            2 french chairs at either side of the desk
            1 tan medium size chair
            1 decorative asian brass and wrought iron piece 4' tall
            2- stuffed quale

            LAUNDRY IN KITCHEN
            1 small set of Asko washer and dryer stackable set


            -UPSTAIRS

            NORTHWEST BEDROOM
            1- restoration hardware linen upholstered bed with sheets,blankets and pillows all white
            1-queen mattress and box spring set mattress 1st pillow top
            1 -blue small chair in corner

            MASTER BEDROOM
            1) King size french style upholstered bed with sterns and foster pillow top mattress and box spring set
            1- 48" samsung TV
            1 white and blue rug under bed

            MASTER BATHROOM
            1 -42" samsung TV

            SOUTHWEST BEDROOM
            1 queen wood restoration hardware bed with mattress 1st pillow top and box spring set with blankets
            pillows and sheets

            1-small desk

            SOUTHEAST BEDROOM
            2 - Twin beds with sheets blankets and pillows no headboards
            1- blue print small chair


            HALLWAY UPSTAIRS
            1- painted skinny grandfather clock




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            LAUNDRY ROOM UPSTAIRS
            set of washer and dryer front load electrolux set
            vacuum equipment for whole house vacuum system in cabinetry
            1 ironing board


            MIDDLE EAST FACING BEDROOM
            1- french amiore
            1 queen size upholstered bed with mattress 1st pillow top mattress with box spring set, sheets and 5
            pillows no blanket

            NORTH EAST BEDROOM
            1- restoration hardware queen linen upholstered bed with mattress 1st pillow top and box spring set,
            sheets, 4 pillows and 2 blankets
            1-small 2 drawer dresser orange in color french style

            -ELECTRONIC EQUIPMENT ROOM

            ALL AUDIO VISUAL EQUIPMENT TO STAY
            1- gun safe green in color 4' tall
            vacuflow whole house vacuum system

            -WORKOUT ROOM
            1 schwinn journey 1.5 stationary bicycle
            1-Parabody gym system

            -APARTMENT ABOVE GARAGE
            1 white sleigh style queen bed with mattress and box spring set

            -GARAGE
            3 Restoration hardware linen dining chairs that match the kitchen eating set


            -SECOND GARAGE
            outdoor kitchen set -viking gas grill
            outdoor viking refrigerator
            2 mountable shelves half round wrought iron
            7 exterior light bronze color
            2"visual comfort brand" wall sconces
            1 trek road bike blue and white
            1 gary fisher mountain bike
            viking trim kit for out door kitchen
            2 hanging light fixtures in boxes "david latesta" brand




            x &els                                                    x
               c--DocuSigned by:




            SELLER9B""                                                BUYER
            DATE: 9/8/2018         I 09:10   PDT                      DATE: 9/10/2018        12:34:15   PM PDT




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                                     Exhibit Page 11 of 31




                                       Exhibit 4

                                    Broker Costs




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Strategic Realty, LLC*                  Exhibit Page 12 of 31
                                                                    ri4 STRATEGIC REALTY
384 SW Upper Terrace Dr., Suite 212
Bend, OR 97702
catherineemovetobend.com
www.movetobend.com

Statement
TO                                                            STATEMENT NO. 1009
Lynda Bui                                                             DATE 09/27/2018




 DATE                     SERVICE                                       AMOUNT        RECEIVED

 04/25/2018               Invoice #1017                                   509.31     0.00
 05/21/2018               Invoice #1020                                   211.71     0.00
 08/07/2018               Invoice #1025                                   146.58     0.00
 08/08/2018               Invoice #1026                                   198.50     0.00
 09/24/2018               Invoice #1035                                   137.35     0.00


                                                               TOTAL AMOUNT        TOTAL RECEIVED
                                                                     $1,203.45               $0.00




                                                                                   EXHIBIT 4
                        //-- CENTRAL ELECTRIC
               Case 6:16-bk-16877-WJ                        Doc 356-1               Filed 10/02/18 Entered 10/02/18 13:33:10
                                                                                                             KWH USAGE  HISTORYDesc
                                           Exhibit                                      Page 13 of 31
                             COOPERATIVE, INC.
                              • RO. Box 846, Redmond, OR 97756                        541.548.2144

       SIGN UP FOR THE BALANCED PAYMENT PLAN!

                    MAKE BALANCING YOUR BUDGET EASIER BY
                    KNOWING IN ADVANCE WHAT YOUR WINTER PAYMENTS                                                       O
                    WILL BE. RESIDENTIAL MEMBERS CAN PAY THE
                    SAME AMOUNT EVERY MONTH YEAR-ROUND BY
                                                                                                                            2017                                   2018
                    SIGNING UP FOR CEC'S BALANCED PAYMENT PLAN.
                                                                                                                         Daily KWH Usage by Month
                    ENROLLMENT FOR THE PLAN BEGINS MAY 1 AND                                                    Period Ending       Total KWH    Average KWH/Day
                    CONTINUES THROUGH SEPTEMBER 30. FOR MORE
                                                                                                            APR 2018                                O                       O
                    INFORMATION VISIT OUR WEBSITE AT WWW.CEC.COOP OR
                    TALK TO A REPRESENTATIVE AT 541.548.2144.                                               APR 2017                                O                       O

                                                                                                                  COST PER DAY:             $0.00

    Meter Nbr           Prey. Read Dt Prey. Read          Pres. Read Dt      Pres. Read       Mult.   KWH        KWD           Rate             Service Address

    128798109              03/21/18            0             04/06/18                         120     0          0.00          RES01         66876 GIST RD/NEW HSE


         NEW ACCT                 ESTIMATED METER                                                                                      ESTIMATED METER EXCHANGE
••••••••• •   •••

 COOP PROVIDED ELECTRIC SERVICE                                                                ACCOUNT NUMBER:                                                       1402
        PREVIOUS BALANCE                                                                                                                                            $0.00
 SUBTOTAL                                                                                                                                                           $0.00
 CURRENT MONTH ENERGY CHARGES
        FACILITIES CHARGE                                                                                                                                          $16.45
        DEPOSIT INSTALLMENT                                                                                                                                       $180.00
 ELECTRIC SERVICE SUBTOTAL                                                                                                                                        $196.45
 OTHER ACTIVITIES
         MEMBERSHIP                                                                                                                                                 $5.00
         LOCKING RING CHARGE                                                                                                                                        $2.00
         METER TAMPERING FEE                                                                                                                                      $150.00
         METER REPLACEMENT COST                                                                                                                                   $155.86
 TOTAL OTHER ACTIVITIES                                                                                                                                           $312.86




   TOTAL AMOUNT DUE ON 04/25/2018                                                   $509.31
   NEW ACCT METER EXCHANGE


If you would like to pay with a credit card, please call 855.384.9811                                                      Return Bottom Portion with Your



                                                                                                                                                             1
or you can pay online at www.cec.coop.                                                                                     Payment in the Envelope Provided


                                                                                                                                   11                        11
                                                                                                                            Account Number:                   1402

                                  2526 1 AB 0.408 8/313 003284 0001:0001                                                    Service Location:           104-TL2200A
                    11111"1111111111111111111111111111111111mlliiiiii111111111111
                                                                                                                            Total Amount Due:           S509.31
                    KERRY P ONEAL
                    C/0 STRATEGIC REALTY                                                                                    Current Due Date:           04/25/2018
                    384 SW UPPER TERRACE DR SUITE
                    BEND OR 97702-3514
                                                                    3902583017314020000.50931HC10509315
                                                                                                                                           EXHIBIT 4
      2229/C          MAIL TO: CENTRAL ELECTRIC COOPERATIVE, INC. • P.O. BOX 846 • REDMOND, OREGON 97756
          Case 6:16-bk-16877-WJ             Doc 356-1       Filed 10/02/18 Entered 10/02/18 13:33:10
                                                                                                HISTORYDesc
                    - CENTRAL ELECTRIC
                                                                                     KWH USAGE
                                    Exhibit                     Page 14 of 31
                      COOPERATIVE, INC.                                             2520

                     • P.O. Box 846, Redmond, OR 97756        541.548.2144          2016

                                                                                    1512

                                                                                    1008
               CALL BEFORE YOU DIG - IT'S THE LAW!
                                                                                     504

     SPRINGTIME MEANS DIGGING AND PLANTING.                                            o
     MAKE SURE YOU DON'T DAMAGE UTILITY LINES OR
     DISRUPT VITAL SERVICES TO YOUR NEIGHBORHOOD.                                          AM
     DIAL 811 FIRST. AVOID POSSIBLE INJURY,                                              2017 Daily KWH                       2018
                                                                                                        Usage by Month
     EXPENSIVE FINES AND REPAIR BILLS.
                                                                                       Period Ending     Total KWH    Average KWH/Day
     OREGON STATE LAW REQUIRES HOMEOWNERS,                                             MAY 2018           2,520         252
     CONTRACTORS AND EXCAVATORS TO CONTACT                                             MAY 2017                 0          o
     THE ONE -CALL CENTER AT LEAST TWO BUSINESS DAYS
     BEFORE DIGGING. CALL 811 BEFORE YOU DIG!
                                                                                           COST PER DAY:       $19 • 38

  Meter Nbr     Prey. Read Dt Prey. Read   Pres. Read Dt Pres. Read Mult.    KWH           KWD      Rate         Service Address
 128798107      04/16/18              0    05/05/18             7   120       840          8.40 RES01      66876 GIST RD/NEW HSE

    METER EXCHANGE
 COOP PROVIDED ELECTRIC SERVICE                                       ACCOUNT NUMBER:                                        1402
          PREVIOUS BALANCE                                                                                                $509.31
          PAYMENTS                                                                                                        $509.31-
 SUBTOTAL                                                                                                                   $0.00
 CURRENT MONTH ENERGY CHARGES
      DEMAND CHARGE                                             8.400       KWD @ 0.000000                                  $0.00
      ELECTRIC CHARGE                                           2,520       KWH @ 0.076900                                $193.79
      FACILITIES CHARGE                                                                                                    $15.92
 ELECTRIC SERVICE SUBTOTAL                                                                                                $209.71
 OTHER ACTIVITIES
      LOCKING RING CHARGE                                                                                                   $2.00
 TOTAL OTHER ACTIVITIES                                                                                                     $2.00




 TOTAL AMOUNT DUE ON               05/25/2018                                                                             $211.71
    METER EXCHANGE



If you would like to pay with a credit card, please call 855.384.9811                        Return Bottom Portion with Your

                                                                                                                                    llit
or you can pay online at www.cec.coop.
                                                                                                     1
                                                                                                         ität0111111

                                                                                                                                    1402
                                                                                                 Account Number:
                                                                                                                           104-TL2200A
   Ih1.1.11 1111I11111111111,111                                                                 Service Location:
     KERRY P ONEAL                                                                                                            $211.71
     C/O STRATEGIC REALTY                                                                        Total Amount Due:
     384 SW UPPER TERRACE DR SUITE 212                                                                                     05/25/2018
     BEND OR 97702-0000                                                                          Current Due Date:
    1/x                                                               3902583017314020000211710000211711


                                                                                                             EXHIBIT 4
              MAIL TO: CENTRAL ELECTRIC COOPERATIVE, INC. • P.O. BOX 846 • REDMOND, OREGON 97756
                 F-     CENTRAL ELECTRIC
           Case 6:16-bk-16877-WJ Doc 356-1 Filed 10/02/18 Entered 10/02/18 13:33:10
                                       Exhibit Page 15 of 31
                                                                                                           KWH USAGE HISTORYDesc


                        COOPERATIVE, INC.                      2520

                                                                                               2016
                       • P.O. Box 846, Redmond, OR 97756            541.548.2144
                                                                                               1512




                                                                                                           111
                               GO PAPERLESS                                                    1008

            SIGN ON TO SMARTHUB ONLINE OR MOBILE APP AND                                        504
            BEGIN TO EXPLORE YOUR ACCOUNT OPTIONS. YOU CAN                                          O
            VIEW OR PAY YOUR BILL, CHOOSE TO RECEIVE MONTHLY
                                                                                                         AMI
            BILLING NOTICES BY EMAIL OR TEXT, SIGN UP FOR AUTO
                                                                                                         2017                                2018
            PAY, AND YOU CAN CHOOSE TO GO PAPERLESS!
                                                                                                      Daily KWH Usage by Month
            VIEW USAGE HISTORY MONTHLY, DAILY OR HOURLY.                                     Period Ending       Total KWH    Average KWH/Day
            COMPARE PAST BILLS. YOU CAN MAKE A PAYMENT
                                                                                         JUL 2018                            600                      20
            ON YOUR ACCOUNT WITH A CREDIT OR DEBIT CARD
            ANYTIME FROM ANYWHERE. PLEASE LOG ON AND                                     JUL 2017                              0                       o
            VISIT US AT WWW.CEC.COOP.                                                           COST PER DAY:          $1.54
  Meter Nbr       Prey. Read Dt Prey. Read     Pres. Read Dt Pres. Read Mult.      KWH        KWD           Rate             Service Address
   128798107        06/05/18        14           07/05/18          19        120   600         6.24         RES01       66876 GIST RD/NEW HSE




 COOP PROVIDED ELECTRIC SERVICE                                              ACCOUNT NUMBER:                                                   1402
        PREVIOUS BALANCE                                                                                                                     $82.52
 SUBTOTAL                                                                                                                                    $82.52
 CURRENT MONTH ENERGY CHARGES
        ELECTRIC CHARGE                                                   600 KWH @ 0.076900                                                 $46.14
        DEMAND CHARGE                                                   6.240 KWD @ 0.000000                                                  $0.00
        FACILITIES CHARGE                                                                                                                    $15.92
 ELECTRIC SERVICE SUBTOTAL                                                                                                                   $62.06
 OTHER ACTIVITIES
         LOCKING RING CHARGE                                                                                                                  $2.00
 TOTAL OTHER ACTIVITIES                                                                                                                       $2.00




  TOTAL AMOUNT DUE ON 07/25/2018                                   $146.58




If you would like to pay with a credit card, please call 855.384.9811                                   Return Bottom Portion with Your
or you can pay online at www.cec.coop.                                                                  Paymr-nt H the Envelope Provided

                                                                                                               PH11!!1
                                                                                                                   Hin
                                                                                                                    11 II
                                                                                                         Account Number:                 1402

                          2538 1 AB 0.408 8/324 003294 0001:0001                                         Service Location:         104-TL2200A

                                                                                                         Total Amount Due:         S146.58
               KERRY P ONEAL
               C/O STRATEGIC REALTY                                                                      Current Due Date:         07/25/2018
               384 SW UPPER TERRACE DR SUITE
               BEND OR 97702-3514
                                                       390 Ma 3017 3 11-1020 OD 146.58 0 0014 6E85
                                                                                                                     EXHIBIT 4
    3437        MAIL TO: CENTRAL ELECTRIC COOPERATIVE, INC. • P.O. BOX 846 • REDMOND, OREGON 97756
         Case 6:16-bk-16877-WJ             Doc 356-1 Filed 10/02/18 Entered 10/02/18 13:33:10
                                                  Exhibit Page 16 of 31
                                       204 N.E. Franklin
                                      BEND, OFt 97701
                                                         Ave.                                                   eam
                                                                                                               lingE
                                                                                                                    Desc


                                            Fax (541) 389-3805
                         r,„(541) 389-1515
                         `'' 'B# 104386
                                         Federal Tax# XX-XXXXXXX
                                 www.bendlockandsafe.com
                                                                                            A 135709
 NAME                                                                                                        DATE

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                                            7 • 4-,
                                                                                            1PHONE
                                                                                                    7.‘ —
                                                                                               ( e 97/
                                                                                    TERI;/ • 54
LOCATION


           2.--                                                                     ,._.
             Z-         DUPLICATE KEYS                                                       7.     5
                        ORIGINAL KEYS
                        DEADBOLT (TYPE)
    r.               KNOBSET (TYPE)
                     LOCKSET (TYPE)


                                                                                                TOTAL
                                                                                               MATERIAL
                                                           _OtteerrieffleZ,                   H.R.S / RATE          AMOUNT
    LABOR TO INSTALL ABOVE                                      fu                  Atici                             5 1c.:b
9   CYLINDER COMBINATION CHANGE

ct SAFE COMBINATION CHANGE
                                                                                                                  / 03
0
m EMERGENCY HOME/AUTO LOCKOUT SERVICE
         SERVICE CALL




                                                                                                  TOTAL
         n MAIN                                                                                   LABOR
         — ENTRANCE           E3 REAR DOOR C] WINDOW                 O   SAFE
          El FRONT DOOR       D HALL DOOR El) CLOSET                 O   PATIO DOOR          SUB-TOTAL
            SIDE DOOR         El INSIDE   El                                                       TAX
          D OPEN LOCK(S)       CI   INSTALL        REPIN              LI CLEANA.UBR.
          E] SECURE                 REMOVE &   n
                                               L.J CHANGE                                     TOTAL
             PREMISES               REPLACE        COMB.              3 ADJUST
             FIT KEYS          EJ   MASTER KEY 13
 AUTTIMIZATION FOR SECURrrY/EMERGENCY SERVICES
 I hereby Certiiy kilt ki_
 designated       --"" nave the authority to order the lock, key or security work           YEAR             MAKE
             above. Further.
 authorization from any and I agreeto absolve
                                                 the locksmith who bears this
                             aliclaims arising from the performance of such work.
                    LEASE PAY FROM THIS COPY                                                MODEL


                  ,                          1-
                                            ! ,-                                            LICENSE NO.
                      •  ----"------"---------
                  "S.SIGNATURE                                        DATE
           BusiNES                  ' •'-'-':'(3-R8-6327
DELUXE FOR                                                                                                EXHIBIT 4
    Case 6:16-bk-16877-WJ         Doc 356-1 Filed 10/02/18 Entered 10/02/18 13:33:10          Desc
                                        Exhibit Page 17 of 31
Strategic Realty, LLC*
                                                                           3TRATEGIC REALTY
384 SW Upper Terrace Dr., Suite 212
Bend, OR 97702
catherine@movetobend.com
www.movetobend.com

INVOICE
BILL TO                                                              INVOICE #   1035
Lynda Bui                                                                DATE    09/24/2018
                                                                     DUE DATE    10/24/2018
                                                                        TERMS    Net 30




 SERVICE                                                     QTY                 RATE         AMOUNT

 Expense Reimbursement:Reimbursement                             1           54.83              54.83
 Gist Power Bill August
 Expense Reimbursement:Reimbursement                             1           82.52              82.52
 Gist Power Bill September


                                                   BALANCE DUE
                                                                                        $137.35




                                                                                  EXHIBIT 4
       mez.
                CENTRAL ELECTRIC
                                                                 KWH USAGE HISTORY
        Case 6:16-bk-16877-WJ Doc 356-1 Filed 10/02/18 Entered 10/02/18 13:33:10 Desc
                                    Exhibit Page 18 of 31
                COOPERATIVE, INC.                           2520

                                                                                                2016
                     • P.O. Box 846, Redmond, OR 97756             541.548.2144
                                                                                                1512

                              SMARTHUB                                                          1008

           ALL THE INFORMATION YOU NEED TO KNOW ABOUT YOUR                                       504
           ENERGY USAGE AND BILLING INFORMATION IS AT YOUR                                            O       1111
           FINGERTIPS WITH SMARTHUB, LEARN HOW YOUR USAGE
                                                                                                           AMI) A
           VARIES BY THE DAY, MAKE CHANGES TO YOUR PAYMENT
                                                                                                           2017                                   2018
           METHODS, AND GET UPDATES ON NEW PROGRAMS.
                                                                                                        Daily KWH Usage by Month
           SIGN UP FOR SMARTHUB TODAY AT WWW.CEC.COOP.                                         Period Ending       Total KWH    Average KWH/Day

                                                                                           AUG 2018                              480                      15
                                                                                           AUG 2017                                                        o
                                                                                                 COST PER DAY:                $1.19

  Meter Nbr      Prey. Read Dt Prey. Read     Pres. Read Dt   Pres. Read Mult.      KWH         KVVD          Rate    I          Service Address

  128798107        07/05/18        19          08/05/18           23       120       480        5.28          RES01            66876 GIST RD/NEW HSE




 COOP PROVIDED ELECTRIC SERVICE                                                ACCOUNT NUMBER:                                                     1402
        PREVIOUS BALANCE                                                                                                                        $146.58
        LATE CHARGE                                                                                                                               $2.00
        PAYMENTS                                                                                                                                $148.58-
 SUBTOTAL                                                                                                                                         $0.00
 CURRENT MONTH ENERGY CHARGES
         ELECTRIC CHARGE                                                  480 KWH @ 0.076900                                                     $36.91
         DEMAND CHARGE                                                  5.280 KWD @ 0.000000                                                      $0.00
         FACILITIES CHARGE                                                                                                                       $15.92
 ELECTRIC SERVICE SUBTOTAL                                                                                                                       $52.83
 OTHER ACTIVITIES
        LOCKING RING CHARGE                                                                                                                       $2.00
 TOTAL OTHER ACTIVITIES                                                                                                                           $2.00




  TOTAL AMOUNT DUE ON 08/25/2018                                  554.83




If you would like to pay with a credit card, please call 855.384.9811                                     Return Bottom Portion with Your
or you can pay online at www.cec.coop.                                                                    Payment in the Enve ope Prov ded
                                                                                                                              1,1
                                                                                                                                                         11
                                                                                                                          u



                                                                                                           Account    Number:                   1402

                         2590 1 AB 0.408 8/323 003352 0001:0001                                            Service Location:           104-TL2200A

                                                                                                           Total Amount Due:           554.83
              KERRY P ONEAL                                            eikie
              C/O STRATEGIC REALTY                                                                         Current Due Date:           08/25/2018
              384 SW UPPER TERRACE DR SUITE
              BEND OR 97702-3514
                                                     3902.5831:1173141:20000054830000054835

                                                                                                                              EXHIBIT 4
    3475       MAIL TO: CENTRAL ELECTRIC COOPERATIVE, INC. • P.O. BOX 846 • REDMOND, OREGON 97756
        Iarror

                           CENTRAL ELECTRIC
           Case 6:16-bk-16877-WJ                 Doc 356-1           Filed 10/02/18 Entered 10/02/18     HISTORYDesc
                                                                                                     13:33:10
                                                                                              KWH USAGE
                                         Exhibit                         Page 19 of 31
               if          COOPERATIVE, INC.                                                     2520

                                                                                                 2016
                         • RO. Box 846, Redmond, OR 97756             541.548.2144
                                                                                                 1512

                     CECS DIRECT PAYMENT PLAN                                                    1008

                                                                                                  504
            ENROLL TODAY AND TAKE ADVANTAGE OF CEC'S
            CONVENIENT, NO FEES PAYMENT PLAN. AUTOMATICALLY                                           O
            PAY YOUR BILL EACH MONTH BY HAVING CEC WITHDRAW
                                                                                                           AMJ        I AS
            YOUR PRE -AUTHORIZED PAYMENT FROM YOUR FINANCIAL
                                                                                                           2017                                 2018
            INSTITUTION OR CREDIT CARD ON THE BILL'S DUE DATE
                                                                                                        Daily KWH Usage by Month
                                                                                               Period Ending       Total KWH     Average KWH/Day
            INTERESTED? CONTACT ONE OF OUR CUSTOMER SERVICE
            REPRESENTATIVES ABOUT MAKING THE SWITCH                                                                                                     27
                                                                                           SEP 2018                           840
            OR SIGNUP ONLINE IN YOUR SMARTHUB ACCOUNT
            AT1NWW.CEC.COOP.                                                               SEP 2017                              0                       o
                                                                                                 COST PER DAY:           $2.08
  Meter Nbr          Prey. Read Dt Prey. Read   Pres. Read Dt Pres. Read Mult.       KWH        KWD           Rate            Service Address

   128798107           08/05/18       23         09/05/18            30       120    840        15.36         RES01          66876 GIST RD/NEW HSE




 COOP PROVIDED ELECTRIC SERVICE                                               ACCOUNT NUMBER:                                                    1402
        PREVIOUS BALANCE                                                                                                                       $54.83
           PAYMENTS                                                                                                                            $54.83-
 SUBTOTAL                                                                                                                                       $0.00
 CURRENT MONTH ENERGY CHARGES
         ELECTRIC CHARGE                                                     840 KWH @ 0.076900                                                $64.60
         DEMAND CHARGE                                                    15.360 KWD @ 0.000000                                                 $0.00
         FACILITIES CHARGE                                                                                                                     $15.92
 ELECTRIC SERVICE SUBTOTAL                                                                                                                     $80.52
 OTHER ACTIVITIES
         LOCKING RING CHARGE                                                                                                                    $2.00
 TOTAL OTHER ACTIVITIES                                                                                                                         $2.00




  TOTAL AMOUNT DUE ON 09/25/2018                                     S82.52




If you would like to pay with a credit card, please call 855.384.9811                                     Return Bottom Portion with Your


                                                                                                                                    11111
                                                                                                                                      11
or you can pay online at www.cec.coop.                                                                    Payment in the Enve ope Provided

                                                                                                                                 11HH
                                                                                                                                 11111
                                                                                                           Account Number:                    1402

                             2503 1AB 0.408 8/307 003262 0001:0001                                         Service Location:         104-TL2200A
                                                                          *                                Total Amount Due:         S82.52
               KERRY P ONEAL
               C/O STRATEGIC REALTY                                                                        Current Due Date:         09/25/2018
               384 SW UPPER TERRACE DR SUITE 212
               BEND OR 97702-3514
                                                        3902E83017314020000082520000082521
                                                                                                                        EXHIBIT 4
    3520            MAIL TO: CENTRAL ELECTRIC COOPERATIVE, INC. • P.O. BOX 846 • REDMOND, OREGON 97756
       Case 6:16-bk-16877-WJ   Doc 356-1 Filed 10/02/18 Entered 10/02/18 13:33:10   Desc
                                     Exhibit Page 20 of 31




                                       Exhibit 5

                               Insurance Premiums




5401-000\1265036.1
     Case 6:16-bk-16877-WJ          Doc 356-1 Filed 10/02/18 Entered 10/02/18 13:33:10                  Desc
                                          Exhibit Page 21 of 31
                                     Trustee Insurance Agency
                                     2813 West Main
                                     Kalamazoo, MI 49006
                                     (877) 237-8167
                                     JAC@trusteeresourcegroup.com

Statement
TO                                                                      STATEMENT NO. 3522
Lynda Bui                                                                       DATE 09/27/2018
RE: Hiles Case # 16-16877                                                   TOTAL DUE $14,049.10
3550 Vine Street,                                                           ENCLOSED
Suite 210
Riverside, CA 92507
United States of America

DATE                        ACTIVITY                                                 AMOUNT     BALANCE

01/31/2018                  Balance Forward                                                     0.00


02/05/2018                  Invoice #9849                                            1,313.00   1,313.00
                            --- 02/02/2018 Property Address:
                            66876 Gist Rd., Bend, OR 97703
                            Insured Value: $1.61 million
                            Coverage Period: 2/2/18 - 3/1/18
                            Deductible: $2,500.00 = $1,288.00
                            --- 02/02/2018 General Liability: $1
                            million per occurrence/$2 million
                            aggregate = $25.00
                            --- 02/05/2018 Trustee Resource
                            Group agrees to finance this policy
                            at a rate of 7% until close of escrow,
                            6 months or $10,000 in premiums =
                            $0.00
03/05/2018                  Invoice #9986                                            1,313.00   2,626.00
                            --- 03/05/2018 Property Address:
                            66876 Gist Rd., Bend, OR 97703
                            Insured Value: $1.61 million
                            Coverage Period: 3/1/18 - 3/31/18
                            Deductible: $2,500.00 = $1,288.00
                            --- 03/05/2018 General Liability: $1
                            million per occurrence/$2 million
                            aggregate = $25.00
                            --- 03/05/2018 Trustee Resource
                            Group agrees to finance this policy
                            at a rate of 7% until close of escrow,
                            6 months or $10,000 in premiums =
                            $0.00
04/01/2018                  Invoice #10120                                           1,313.00   3,939.00

Current           1-30 Days            31-60 Days          61-90 Days     90+ Days                         Amount
Due               Past Due             Past Due            Past Due       Past Due                           Due
0.00              4,858.10             1,313.00            1,313.00       6,565.00                     $14,049.10
              For more information related to our TAX and ACCOUNTING services please contact:
                              Cheryl Wesler: cheryl@trusteeresourcegroup.com            EXHIBIT            5
   Case 6:16-bk-16877-WJ       Doc 356-1 Filed 10/02/18 Entered 10/02/18 13:33:10              Desc
                                     Exhibit Page 22 of 31
DATE                   ACTIVITY                                               AMOUNT     BALANCE

                       --- 04/01/2018 Property Address:
                       66876 Gist Rd., Bend, OR 97703
                       Insured Value: $1.61 million
                       Deductible: $2,500.00 = $1,288.00
                       --- 04/01/2018 General Liability: $1
                       million per occurrence/$2 million
                       aggregate = $25.00
                       --- 04/01/2018 Trustee Resource
                       Group agrees to finance this policy
                       at a rate of 7% until close of escrow,
                       6 months or $10,000 in premiums =
                       $0.00
05/01/2018             Invoice #10250                                         1,313.00   5,252.00
                       --- 05/01/2018 Property Address:
                       66876 Gist Rd., Bend, OR 97703
                       Insured Value: $1.61 million
                       Deductible: $2,500.00 = $1,288.00
                       --- 05/01/2018 General Liability: $1
                       million per occurrence/$2 million
                       aggregate = $25.00
                       --- 05/01/2018 Trustee Resource
                       Group agrees to finance this policy
                       at a rate of 7% until close of escrow,
                       6 months or $10,000 in premiums =
                       $0.00
06/01/2018             Invoice #10389                                         1,313.00   6,565.00
                       --- 06/01/2018 Property Address:
                       66876 Gist Rd., Bend, OR 97703
                       Insured Value: $1.61 million
                       Deductible: $2,500.00 = $1,288.00
                       --- 06/01/2018 General Liability: $1
                       million per occurrence/$2 million
                       aggregate = $25.00
                       --- 06/01/2018 Trustee Resource
                       Group agrees to finance this policy
                       at a rate of 7% until close of escrow,
                       6 months or $10,000 in premiums =
                       $0.00
07/01/2018             Invoice #10524                                         1,313.00   7,878.00
                       --- 07/01/2018 Property Address:
                       66876 Gist Rd., Bend, OR 97703
                       Insured Value: $1.61 million
                       Deductible: $2,500.00 = $1,288.00
                       --- 07/01/2018 General Liability: $1
                       million per occurrence/$2 million
                       aggregate = $25.00




Current         1-30 Days         31-60 Days          61-90 Days   90+ Days                         Amount
Due             Past Due          Past Due            Past Due     Past Due                           Due
0.00            4,858.10          1,313.00            1,313.00     6,565.00                  $14,049.10
             For more information related to our TAX and ACCOUNTING services please contact:
                             Cheryl Wesler: cheryl@trusteeresourcegroup.com            EXHIBIT      5
   Case 6:16-bk-16877-WJ       Doc 356-1 Filed 10/02/18 Entered 10/02/18 13:33:10              Desc
                                     Exhibit Page 23 of 31
DATE                   ACTIVITY                                               AMOUNT     BALANCE

                       --- 07/01/2018 Trustee Resource
                       Group agrees to finance this policy
                       at a rate of 7% until close of escrow,
                       6 months or $10,000 in premiums =
                       $0.00
08/01/2018             Invoice #10639                                         1,313.00   9,191.00
                       --- 08/01/2018 Property Address:
                       66876 Gist Rd., Bend, OR 97703
                       Insured Value: $1.61 million
                       Deductible: $2,500.00 = $1,288.00
                       --- 08/01/2018 General Liability: $1
                       million per occurrence/$2 million
                       aggregate = $25.00
                       --- 08/01/2018 Trustee Resource
                       Group agrees to finance this policy
                       at a rate of 7% until close of escrow,
                       6 months or $10,000 in premiums =
                       $0.00
09/01/2018             Invoice #10755                                         1,313.00   10,504.00
                       --- 09/01/2018 Property Address:
                       66876 Gist Rd., Bend, OR 97703
                       Insured Value: $1.61 million
                       Deductible: $2,500.00 = $1,288.00
                       --- 09/01/2018 General Liability: $1
                       million per occurrence/$2 million
                       aggregate = $25.00
                       --- 09/01/2018 Trustee Resource
                       Group agrees to finance this policy
                       at a rate of 7% until close of escrow,
                       6 months or $10,000 in premiums =
                       $0.00
09/01/2018             Invoice #10756                                         1,313.00   11,817.00
                       --- 09/01/2018 Property Address:
                       66876 Gist Rd., Bend, OR 97703
                       Insured Value: $1.61 million
                       Deductible: $2,500.00 = $1,288.00
                       --- 09/01/2018 General Liability: $1
                       million per occurrence/$2 million
                       aggregate = $25.00
                       --- 09/01/2018 Trustee Resource
                       Group agrees to finance this policy
                       at a rate of 7% until close of escrow,
                       6 months or $10,000 in premiums =
                       $0.00
                       --- 09/01/2018 Gratuity =
10/01/2018             Invoice #10832                                         2,232.10   14,049.10




Current         1-30 Days         31-60 Days          61-90 Days   90+ Days                         Amount
Due             Past Due          Past Due            Past Due     Past Due                           Due
0.00            4,858.10          1,313.00            1,313.00     6,565.00                  $14,049.10
             For more information related to our TAX and ACCOUNTING services please contact:
                             Cheryl Wesler: cheryl@trusteeresourcegroup.com            EXHIBIT      5
   Case 6:16-bk-16877-WJ     Doc 356-1 Filed 10/02/18 Entered 10/02/18 13:33:10           Desc
                                   Exhibit Page 24 of 31
DATE                 ACTIVITY                                               AMOUNT   BALANCE

                     --- 10/01/2018 Property Address:
                     66876 Gist Rd., Bend, OR 97703
                     Insured Value: $1.61 million
                     Deductible: $2,500.00
                     Coverage Period 2/2/18 - 10/31/18
                     = $1,288.00
                     --- 10/01/2018 General Liability: $1
                     million per occurrence/$2 million
                     aggregate = $25.00
                     --- 10/01/2018 Trustee Resource
                     Group agrees to finance this policy
                     at a rate of 7% until close of escrow,
                     6 months or $10,000 in premiums.
                     Financed through 10/31/18 =
                     $919.10




Current       1-30 Days         31-60 Days          61-90 Days   90+ Days                      Amount
Due           Past Due          Past Due            Past Due     Past Due                        Due
0.00          4,858.10          1,313.00            1,313.00     6,565.00               $14,049.10
           For more information related to our TAX and ACCOUNTING services please contact:
                           Cheryl Wesler: cheryl@trusteeresourcegroup.com            EXHIBIT   5
       Case 6:16-bk-16877-WJ                     Doc 356-1 Filed 10/02/18 Entered 10/02/18 13:33:10                                                 Desc
                                                       Exhibit Page 25 of 31



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
100 Spectrum Center Drive, Suite 600, Irvine, CA 92618

A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE’S MOTION FOR ORDER: (1)
APPROVING THE SALE OF REAL PROPERTY OF THE ESTATE FREE AND CLEAR OF CERTAIN LIENS
PURSUANT TO BANKRUPTCY CODE §§ 363(b)(1) AND (f), SUBJECT TO OVERBIDS, COMBINED WITH NOTICE OF
BIDDING PROCEDURES AND REQUEST FOR APPROVAL OF THE BIDDING PROCEDURES UTILIZED; (2)
APPROVING PAYMENT OF REAL ESTATE COMMISSION AND OTHER COSTS; AND (3) GRANTING RELATED
RELIEF INCLUDING APPROVING THE SALE OF ALL PERSONAL PROPERTY LOCATED THE OREGON RANCH;
MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATION OF LYNDA T. BUI IN SUPPORT THEREOF
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 2, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) October 2, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

                                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) Not Applicable, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 2, 2018               Nicole Carlson                                                        /s/ Nicole Carlson
 Date                          Printed Name                                                          Signature




               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                 F 9013-3.1.PROOF.SERVICE
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                                                                 NEF SERVICE LIST

•           Lynda T. Bui (TR) Chapter 7 Trustee trustee.bui@shbllp.com, C115@ecfcbis.com

•           Robert P Goe on behalf of Debtor Russel Dennis Hiles, III kmurphy@goeforlaw.com,
            rgoe@goeforlaw.com;goeforecf@gmail.com

•           Everett L Green on behalf of U.S. Trustee United States Trustee (RS) everett.l.green@usdoj.gov

•           Rika M. Kido on behalf of Chapter 7 Trustee rkido@shbllp.com, avernon@shbllp.com;ecf.filings@shbllp.com

•           Samuel Kornhauser on behalf of Creditor Christopher T Borgeson skornhauser@earthlink.net

•           Joshua Lichtman on behalf of Creditor Farmers Insurance Exchange joshua.lichtman@nortonrosefulbright.com,
            Rhonda.cole@nortonrosefulbright.com

•           William F McDonald, III on behalf of Creditor Bank of America, N.A. Caecf@tblaw.com,
            wfm@tblaw.com;snchampney@tblaw.com

•           Charity J Miller on behalf of Debtor Russel Dennis Hiles, III cmiller@goeforlaw.com,
            kmurphy@goeforlaw.com;goeforecf@gmail.com

•           Randall P Mroczynski on behalf of Creditor Daimler Trust and Ford Motor Credit Company LLC randym@cookseylaw.com

•           Ronak N Patel on behalf of Creditor Treasurer Tax Collector County of Riverside rpatel@rivco.org,
            mdominguez@RIVCO.org

•           Steven G Polard on behalf of Interested Party Cynthia Ellen Hiles spolard@eisnerlaw.com, lewing@eisnerlaw.com

•           Kelly M Raftery on behalf of Creditor Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan Trust
            A, its assignees and/or successors, by and through its servicing agent Carrington Mortgage Services, LLC
            bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com

•           Jason K Schrader on behalf of U.S. Trustee United States Trustee (RS) jason.K.Schrader@usdoj.gov

•           Leonard M. Shulman on behalf of Chapter 7 Trustee lshulman@shbllp.com

•           United States Trustee (RS) on behalf of United States Trustee ustpregion16.rs.ecf@usdoj.gov

•           Scott S Weltman on behalf of Creditor KeyBank, N.A. colcaecf@weltman.com

•           Rebecca J Winthrop on behalf of Creditor Farmers Insurance Exchange rebecca.winthrop@nortonrosefulbright.com,
            darla.rodrigo@nortonrosefulbright.com

•           Jennifer C Wong on behalf of Creditor Bank of America, N.A. bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com

•           Kristin A Zilberstein on behalf of Creditor Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan
            Trust A, its assignees and/or successors, by and through its servicing agent Carrington Mortgage Services, LLC
            ecfnotifications@ghidottilaw.com




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June 2012                                                                                                    F 9013-3.1.PROOF.SERVICE
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                                                              U.S. MAIL SERVICE LIST
Judge’s Copy
Hon Wayne Johnson, United States Bankruptcy Court, Suite 385, 3420 Twelfth Street, Riverside, CA 92501

Debtor
Russel Dennis Hiles III, 155 Metate Place, Palm Desert, CA 92260-7334

Buyer
Drew Hood, c/o Nic Jones, Keller Williams Central Oregon, 123 SW Columbia St., Bend, OR, 97702

Buyer’s Agent/Broker
Keller Williams Central Oregon, Attn Nic Jones, 123 SW Columbia St, Bend, OR 97702

Trustee’s Agent/Broker
Strategic Realty, Attn Josh Hansen, 384 SW Upper Terrace #212, Bend, OR 97702

Lien Holders
Bank of America, Bank of American Home Loans, PO Box 31785, Tampa, FL 33631-3785

Sun Mountain Water Systems, 13075 Second Avenue, Bend, OR 927703

Tax Collector
Deschutes County Tax Collector, PO Box 7559, Bend, OR 97708

Creditors and all other Interested Parties

RFSN - ATTORNEY FOR BANK OF                          CLAIM FILED                                             COURT MAILING LIST
AMERICA,       N.A.     AND     CARRINGTON           DAIMLER TRUST                                           EMPLOYMENT DEVELOPMENT DEPT.
MORTGAGE               SERVICES,             LLC,    C/O BK SERVICING, LLC                                   BANKRUPTCY GROUP MIC 92E
SERVICING AGENT FOR WILMINGTON                       PO BOX 131265                                           P.O. BOX 826880
SAVINGS      FUND       SOCIETY,      FSB,    AS     ROSEVILLE, MN 55113-0011                                SACRAMENTO, CA 94280-0001
TRUSTEE OF STANWICH MORTGAGE
LOAN        TRUST     A,    ITS    ASSIGNEES
AND/OR SUCCESSORS
MCCARTHY & HOLTHUS, LLP
1770 FOURTH AVENUE
SAN DIEGO, CA 92101-2607

COURT MAILING LIST                                   RFSN     -    ATTORNEY         FOR      FARMERS         NEF - ATTORNEY FOR FORD MOTOR
FARMERS INSURANCE EXCHANGE                           INSURANCE EXCHANGE, CLAIM FILED                         CREDIT COMPANY LLC
6301 OWENSMOUTH AVENUE                               PETER MASON ESQ                                         RANDALL P. MROCZYNSKI ESQ
WOODLAND HILLS, CA 91367-2268                        JOSHUA LICHTMAN ESQ                                     COOKSEY, TOOLEN, GAGE, DUFFY & WOOG
                                                     REBECCA J. WINTHROP ESQ                                 535 ANTON BLVD 10TH FL
                                                     NORTON ROSE FULBRIGHT US LLP                            COSTA MESA, CA 92626-1947
                                                     555 S. FLOWER STREET
                                                     41ST FLOOR
                                                     LOS ANGELES, CA 90071-2300




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June 2012                                                                                                      F 9013-3.1.PROOF.SERVICE
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COURT MAILING LIST                               NEF - ATTORNEY FOR KEYBANK, N.A.                        NEF - ATTORNEY FOR TREASURER TAX
FRANCHISE TAX BOARD                              SCOTT S WELTMAN ESQ                                     COLLECTOR COUNTY OF RIVERSIDE
BANKRUPTCY SECTION MS: A-340                     WELTMAN, WEINBERG & REIS, CO., L.P.A.                   RONAK N. PATEL ESQ
P.O. BOX 2952                                    323 W. LAKESIDE AVENUE                                  COUNTY COUNSEL
SACRAMENTO, CA 95812-2952                        SUITE 200                                               TREASURER TAX COLLECTOR COUNTY OF
                                                 CLEVELAND, OH 44113-1009                                RIVERSIDE
                                                                                                         3960 ORANGE STREET
                                                                                                         SUITE 500
                                                                                                         RIVERSIDE, CA 92501-3644

RFSN    -   ATTORNEY     FOR     CYNTHIA         COURT MAILING LIST                                      COURT MAILING LIST
HILES                                            WILMINGTON SAVINGS FUND SOCIETY,                        RIVERSIDE DIVISION
CLAIM FILED                                      FSB, AS TRU                                             3420 TWELFTH STREET,
STEVEN G POLARD ESQ                              C/O MCCARTHY & HOLTHUS, LLP                             RIVERSIDE, CA 92501-3819
EISNER JAFFE APC                                 1770 FOURTH AVENUE
9601 WILSHIRE BLVD SUITE 700                     SAN DIEGO, CA 92101-2607
BEVERLY HILLS, CA 90210

CLAIM FILED                                      COURT MAILING LIST                                      COURT MAILING LIST
AMERICAN EXPRESS CENTURION BANK                  AMEX                                                    ANTHONY CAPOBIANCO
C/O BECKET AND LEE LLP                           CORRESPONDENCE                                          CAPOBIANCO LAW OFFICES, P.C.
PO BOX 3001                                      PO BOX 981540                                           41990 COOK STREET, BLDG. F STE. 200
MALVERN PA 19355-0701                            EL PASO, TX 79998-1540                                  PALM DESERT, CA 92211-6105

CLAIM FILED                                      COURT MAILING LIST                                      CLAIM FILED
BIGHORN HOMEOWNERS ASSOCIATION,                  BANK OF AMERICA                                         BANK OF THE WEST
INC.                                             NC4-105-03-14                                           2527 CAMINO RAMON
C/O FIORE, RACOBS & POWERS                       PO BOX 26012                                            SAN RAMON, CA 94583-4213
6820 INDIANA AVE., SUITE 140                     GREENSBORO, NC 27420-6012
RIVERSIDE, CA 92506-4261

COURT MAILING LIST                               RFSN - CLAIM FILED                                      RFSN
BANK OF AMERICA                                  BANK OF AMERICA NA                                      BANK OF AMERICA, N.A.
9000 SOUTHSIDE BLVD., BLDG 700 FILE              PO BOX 31785                                            ATTN BANKRUPTCY DEPARTMENT
JACKSONVILLE, FL 32256-6705                      TAMPA FL 33631-3785                                     P.O. BOX 5170
                                                                                                         SIMI VALLEY, CA 93062

COURT MAILING LIST                               COURT MAILING LIST                                      COURT MAILING LIST
BANK OF THE WEST                                 BARCLAYS BANK DELAWARE                                  BIGHORN CLUBHOUSE PROJECT, MSC 614
2527 CAMINO RAMON                                PO BOX 8801                                             PO BOX 52163
PO BOX 5172                                      WILMINGTON, DE 19899-8801                               PHOENIX, AZ 85072-2163
SAN RAMON, CA 94583-5172

CLAIM FILED                                      COURT MAILING LIST                                      COURT MAILING LIST
BIGHORN GOLF CLUB-CLUBHOUSE                      BIGHORN HOMEOWNERS ASSN MSC 855                         BIGHORN HOMEOWNERS ASSN.
C/O JOSEPH A ROMAN                               PO BOX 29048                                            255 PALOWET
2825 E TAHQUITZ CYN WY                           PHOENIX, AZ 85038-9048                                  PALM DESERT, CA 92260-7311
SUITE 202
PALM SPRINGS CA 92262-6995

RFSN                                             CLAIM FILED                                             COURT MAILING LIST
CARRINGTON      MORTGAGE         SERVICES        CENTRAL ELECTRIC COOPERATIVE, INC.                      CHASE CARD SERVICES
LLC                                              PO BOX 846                                              ATTN: CORRESPONDENCE DEPT
818 WEST 7TH STREET                              REDMOND, OR 97756-0187                                  PO BOX 15298
LOS ANGELES, CA 90017                                                                                    WILMINGTON, DE 19850-5298




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June 2012                                                                                                  F 9013-3.1.PROOF.SERVICE
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COURT MAILING LIST                               CLAIM FILED                                             COURT MAILING LIST
CHRISTOPHER T. BORGESON                          CINDY ELLEN HILES                                       CITI
2150 LADERA RD.                                  13327 ATWATER LANE                                      CITICORP          CR        SRVS/CENTRALIZED
OJAI, CA 93023-8337                              LAKE OSWEGO, OR 97034-2127                              BANKRUPTCY
                                                                                                         PO BOX 790040
                                                                                                         S LOUIS, MO 63179-0040

RFSN - CLAIM FILED                               CLAIM FILED                                             COURT MAILING LIST
COUNTY OF SAN DIEGO - TREASURER-                 CRANFILL SUMNER & HARTZOG LLP                           CRANFILL, SUMNER & HARTZOG
TAX COLLECTOR                                    5420 WADE PARK BLVD., SUITE 300                         PO BOX 27808
DAN MCALLISTER                                   RALEIGH, NC 27607-4189                                  RALEIGH, NC 27611-7808
ATTENTION: BANKRUPTCY DESK
1600 PACIFIC HWY., RM. 162
SAN DIEGO, CA 92101-2474

COURT MAILING LIST                               COURT MAILING LIST                                      COURT MAILING LIST
DAIMLER TRUST                                    DE CASTRO WEST, ET AL.                                  DE CASTRO WEST, ET AL.
C/O BK SERVICING, LLC                            10960 WILSHIRE BLVD., 14TH FL.                          ATTN: MICHAEL COHEN
PO BOX 131265                                    LOS ANGELES, CA 90024-3702                              10960 WILSHIRE BLVD., 14TH FL.
ROSEVILLE, MN 55113-0011                                                                                 LOS ANGELES, CA 90024-3702

COURT MAILING LIST                               COURT MAILING LIST                                      CLAIM FILED
DESCHUTES COUNTY ASSESSOR                        DESCHUTES COUNTY TREASURER                              DESCHUTES COUNTY TAX COLLECTOR
PO BOX 6005                                      1300 NW WATT ST., #200                                  PO BOX 7559
BEND, OR 97708-6005                              BEND, OR 97701                                          BEND, OR 97708

COURT MAILING LIST                               CLAIM FILED                                             COURT MAILING LIST
EISENHOWER MEDICAL CENTER                        FRANCHISE TAX BOARD                                     FARMER'S INSURANCE CO.
39000 BOB HOPE DRIVE                             BANKRUPTCY SECTION MS A340                              ATTN: DOREN E. HOHL, AGENT
RANCHO MIRAGE, CA 92270-3221                     PO BOX 2952                                             6301 OWENSMOUTH AVE.
                                                 SACRAMENTO CA 95812-2952                                WOODLAND HILLS, CA 91367-2216

COURT MAILING LIST                               COURT MAILING LIST                                      COURT MAILING LIST
FARMERS INSRUANCE COMAPNY, INC.                  FARMERS INSURANCE COMAPNY, INC.                         FARMERS INSURANCE COMPANY, INC.
C/O STOEL RIVES LLP                              ATTN: DOREN E. HOHL, AGENT                              PO BOX 2450
760 SW NINTH AVE. STE. 3000                      6301 OWENSMOUTH AVE.                                    GRAND RAPIDS, MI 49501-2450
PORTLAND, OR 97205-2586                          WOODLAND HILLS, CA 91367-2268

COURT MAILING LIST                               COURT MAILING LIST                                      CLAIM FILED
FARMERS INSURANCE EXCHANGE                       FORD MOTOR CREDIT COMPANY                               FORD MOTOR CREDIT COMPANY LLC
6301 OWENSMOUTH AVENUE                           P O BOX 62180                                           P.O. BOX 552679
WOODLAND HILLS, CA 91367-2268                    COLORADO SPRINGS CO 80962-2180                          DETROIT, MI 48255-2679

COURT MAILING LIST                               COURT MAILING LIST                                      COURT MAILING LIST
FRANCHISE TAX BOARD                              FRANCHISE TAX BOARD                                     FRANCHISE TAX BOARD
ATTN-BANKRUPTCY                                  PO BOX 942867                                           VEHICLE REGISTRATION COLLECTIONS
PO BOX 2952                                      SACRAMENTO, CA 94267-0001                               PO BOX 419001
SACRAMENTO, CA 95812-2952                                                                                RANCHO CORDOVA, CA 95741-9001

CLAIM FILED                                      COURT MAILING LIST                                      COURT MAILING LIST
INTERNAL REVENUE SERVICE                         INTERNAL REVENUE SERVICE                                KATZ CASSIDY
CENTRALIZED                  INSOLVENCY          225 W. BROADWAY, STE. 200                               11400 W. OLYMPIC BLVD., #1050
OPERATIONS                                       GLENDALE, CA 91204-1345                                 LOS ANGELES, CA 90064-1587
PO BOX 7346
PHILADELPHIA PA 19101-7346




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June 2012                                                                                                  F 9013-3.1.PROOF.SERVICE
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COURT MAILING LIST                                 CLAIM FILED                                             COURT MAILING LIST
KEYBANK                                            KEYBANK N.A.                                            KEYBANK NA
PO BOX 94722                                       4910 TIEDEMAN ROAD                                      ATTN: RECOVERY PAYMENT PR
CLEVELAND, OH 44101-4722                           BROOKLYN, OHIO 44144-2338                               4910 TIEDEMAN ROAD (RTG CODE: 08-01-
                                                                                                           BROOKLYN, OH 44144-2338

CLAIM FILED                                        COURT MAILING LIST                                      RFSN - ATTORNEY FOR CHRISTOPHER T
LOS     ANGELES     COUNTY      TREASURER          LAW OFFICES OF RYNEAL & RYNEAL                          BORGESON, CLAIM FILED
AND TAX COLLECT                                    3890 11TH STREET, STE. 116                              SAMUEL KORNHAUSER ESQ
PO BOX 54110                                       RIVERSIDE, CA 92501-3572                                LAW OFFICES OF SAMUEL KORNHAUSER
LOS ANGELES CA 90054-0110                                                                                  155 JACKSON ST STE 1807
                                                                                                           SAN FRANCISCO CA 94111-1936

COURT MAILING LIST                                 COURT MAILING LIST                                      COURT MAILING LIST
LOMA LINDA MEDICAL CENTER                          LOS ANGELES COLLECTION SERVICE INC.                     MB FIN SVCS
11234 ANDERSON ST.                                 2140 WESTWOOD BLVD., STE. 222                           36455 CORPORATE DR
LOMA LINDA, CA 92354-2804                          LOS ANGELES, CA 90025-6333                              FARMINGTON HILLS, MI 48331-3552

COURT MAILING LIST                                 COURT MAILING LIST                                      COURT MAILING LIST
MERCEDES BENZ FIN'L SVCS                           MICHAEL & ASSOCIATES, PC                                PAYCHEX
PO BOX 685                                         555 ST. CHARLES DR., STE. 204                           C/O CT CORPORATION SYSTEM
ROANOKE, TX 76262-0685                             THOUSAND OAKS, CA 91360-3992                            818 WEST SEVENTH ST. STE. 930
                                                                                                           LOS ANGELES, CA 90017-3476

COURT MAILING LIST                                 COURT MAILING LIST                                      COURT MAILING LIST
PUBLIC STORAGE                                     PUBLIC STORAGE                                          RIVERSIDE COUNTY ASSESSOR-CLERK
11259 W. OLYMPIC BLVD.                             72150 FRED WARING DRIVE                                 PO BOX 751
LOS ANGELES, CA 90064-1720                         PALM DESERT, CA 92260-2750                              RIVERSIDE, CA 92502-0751

CLAIM FILED                                        COURT MAILING LIST                                      COURT MAILING LIST
RIVERSIDE COUNTY TAX COLLECTOR                     RIVERSIDE COUNTY TAX COLLECTOR                          SAN DIEGO COUNTY TREASURER-TAX
4080 LEMON ST 4TH FL                               BOX 12005                                               1600 PACIFIC HWY., RM. 162
RIVERSIDE CA 92501-3634                            RIVERSIDE, CA 92502-2205                                SAN DIEGO, CA 92101-2477

CLAIM FILED                                        CLAIM FILED                                             COURT MAILING LIST
CALIFORNIA DEPARTMENT OF TAX AND                   SUNTRUST BANK                                           SUNTRUST MORTGAGE/CC 5
FEE ADMINISTRATION                                 ATTN: SUPPORT SERVICES                                  ATTN:BANKRUPTCY DEPT
(FUNCTIONAL SUCCESSOR TO BOARD                     P.O. BOX 85092                                          1001 SEMMES AVE VA-WMRK-7952
OF EQUALIZATION 7/1/17)                            RICHMOND, VA 23286-0001                                 RICHMOND, VA 23224-2245
SPECIAL OPS, MIC:55
PO BOX 942879
SACRAMENTO, CA 94279-0055

RFSN - ATTORNEYS FOR BANK OF                       COURT MAILING LIST                                      CLAIM FILED
AMERICA NA                                         VCA RANCHO MIRAGE ANIMAL HOSPITAL                       VERITEXT CENTURY REPORTERS
TIFFANY & BOSCO, P.A.                              71-075 HWY. 111                                         20 CORPORATE PARK STE 350
                                                   RANCHO MIRAGE, CA 92270-4122                            IRVINE CA 92606-5190
1230 COLUMBIA STREET
SUITE 680
SAN DIEGO, CA 92101

CLAIM FILED                                        COURT MAILING LIST                                      COURT MAILING LIST
WILMINGTON SAVINGS FUND SOCIETY,                   KATZ CASSIDY                                            LAVAR TAYLOR
FSB                                                11400 W. OLYMPIC BLVD SUITE 1050                        3 HUTTON CENTER DRIVE SUITE 500
C/O         CARRINGTON           MORTGAGE          LOS ANGELES, CA 90064-1587                              SANTA ANA, CA 92707-8711
SERVICES, LLC
1600 SOUTH DOUGLASS ROAD, SUITE
200-A
ANAHEIM, CA 92806-5948

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June 2012                                                                                                    F 9013-3.1.PROOF.SERVICE
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COURT MAILING LIST                                CLAIM FILED                                             CLAIM FILED
LAW OFFICES OF WM. A. BROWN, JR.                  VERIZON BY AMERICAN INFOSOURCE LP                       VERIZON BY AMERICAN INFOSOURCE LP
601 WEST 5TH STREET, 8TH FLOOR                    AS AGENT                                                AS AGENT
LOS ANGELES, CA 90071                             4515 N SANTA FE AVE                                     4515 N SANTA FE AVE
                                                  OKLAHOMA CITY, OK 73118                                 OKLAHOMA CITY, OK 73118

UNDELIVERABLE                                     UNDELIVERABLE                                           UNDELIVERABLE
COURT MAILING LIST                                COURT MAILING LIST                                      COURT MAILING LIST
COURTESY NEF                                      CYNTHIA ELLEN HILES                                     CHRISTOPHER T BORGESON

UNDELIVERABLE                                     DUPLICATE                                               DUPLICATE
COURT MAILING LIST                                COURT MAILING LIST                                      COURT MAILING LIST
ATTY    OF    HILES    RE      FARMERS      &     CHRISTOPHER T. BORGESON                                 FARMERS INSURANCE EXCHANGE
GORGESON                                          155 JACKSON ST STE 1807                                 C/O NORTON ROSE FULBRIGHT
                                                  SAN FRANCISCO CA 94111-1936                             ATTN: PETER MASON & JOSHUA LICHTMAN
                                                                                                          555 SOURTH FLOWER STREET
                                                                                                          LOS ANGELES, CA 90071

DUPLICATE                                         DUPLICATE                                               DUPLICATE
COURT MAILING LIST                                COURT MAILING LIST                                      COURT MAILING LIST
CHRISTOPHER T BORGESON                            INTERNAL REVENUE SERVICE                                INTERNAL REVENUE SERVICE
LAW         OFFICES       OF        SAMUEL        CENTRALIZED INSOLVENCY OPERATIONS                       PO BOX 7346
KORNHAUSER                                        PO BOX 7346                                             PHILADELPHIA, PA 19101-7346
155 JACKSON ST STE 1807                           PHILADELPHIA PA 19101-7346
SAN FRANCISCO CA 94111-1936

DUPLICATE                                         SEE PROOF OF CLAIM ADDRESS                              UNDELIVERABLE
COURT MAILING LIST                                COURT MAILING LIST                                      COURT MAILING LIST
CALIFORNIA       STATE         BOARD       OF     CALIFORNIA           STATE          BOARD        OF     ALLIED PUBLIC STORAGE
EQUALIZATION                                      EQUALIZATION                                            11259 W . OLYMPIC BLVD
ACCOUNT REFERENCE GROUP MIC 29                    ACCOUNT REFERENCE GROUP MIC 29                          WA 99064
P O BOX 942879                                    P O BOX 942879
SACRAMENTO CA 94279-0029                          SACRAMENTO CA 94279-0029

RETURNED 1/24/2018, UNDELIVERABLE,                RETURNED              1/26/2018,         2/20/2018,     RETURNED 1/29/2018, UNDELIVERABLE
SEE NEW ADDRESS FROM CA STATE                     UNDELIVERABLE                                           COURT MAILING LIST
BAR                                               COURT MAILING LIST                                      PORSCHE FINANCIAL SRVC
COURT MAILING LIST                                PONDEROSA PROPERTIES, LLC                               980 HAMMOND DR
LAW OFFICES OF WM. A. BROWN, JR.                  221 S ASH                                               ATLANTA, GA 30328-8186
865 FIGUEROA ST., #2640                           SISTERS, OR 97759-1080
LOS ANGELES, CA 90017-5472

RETURNED 1/30/2018, UNDELIVERABLE                 RETURNED          2/1/2018,        3,   5,    2018,     RETURNED              2/12/2018,            2/20/2018,
COURT MAILING LIST                                UNDELIVERABLE                                           UNDELIVERABLE
CONCIERGE AUCTIONS, LLC                           COURT MAILING LIST                                      COURT MAILING LIST
405 LEXINGTON AVENUE                              MERCEDES BENZ FINANCIAL SERVICES                        MASTER CARD
NEW YORK, NY 10174-0002                           PO BOX 17466                                            837 3RD ST.
                                                  BALTIMORE, MD 21297-1466                                SANTA MONICA, CA 90403-1159

SEE PROOF OF CLAIM ADDRESS
RFSN    -   ATTORNEY      FOR     CYNTHIA
HILES
STEVEN G POLARD ESQ
DAVIS WRIGHT TREMAINE LLP
865 S FIGUEROA STREET, SUITE 2400
LOS ANGELES, CA 90017-2566




                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                   F 9013-3.1.PROOF.SERVICE
